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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


UNITED STATES OF AMERICA                 )
                                         )       CRIMINAL ACTION NO.
        v.                               )          3:15cr240-MHT
                                         )               (WO)
STEPHEN HOWARD                           )

                                      OPINION

        This    matter     is     before      the   court    on   defendant

Stephen        Howard’s        motion     for    compassionate         release

pursuant       to   18    U.S.C.        § 3582(c)(1)(A).          He     seeks

compassionate       release       from       incarceration    due      to   his

advanced age and health conditions, several of which

place him at a significantly elevated risk of serious

complications and even death should he become infected

with    COVID-19,        and    his     inability   to   protect       himself

from infection in the prison where he is incarcerated.

The court has struggled with the issue and concludes,

after        consideration        of     evidence    presented         at    an

evidentiary hearing on August 11, 2020, and a careful

review of the entire record, that the motion should be

granted.
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                              I. BACKGROUND

      In 2015, Howard pleaded guilty to three counts of

possession      with    intent     to       distribute   1,4-butanediol,

one count of brandishing a firearm during and relation

to a drug trafficking offense, and one count of simple

possession of methamphetamine.                 He was sentenced to 102

months in prison.           This sentence consisted of 18 months

of imprisonment on the three 1,4-butanediol counts and

12    months    on   the    methamphetamine        count,   all    to      run

concurrently,        plus    a   consecutive       84    months   on       the

brandishing count.            The court also sentenced him to

three years on supervised release.

      Howard has been incarcerated since May 22, 2015.

As of today, he has served 64 months, or approximately

63 % of his total sentence.                     His current projected

release date is August 18, 2022, which would give him

an actual total sentence of about 88 months.                            When

looked at in this light, he has served approximately


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73 % of his sentence.         If one further considers that he

likely would be released to a halfway house six months

before      his   projected   release     date,    he   has   about     17

months left to serve in a prison setting.

      Howard is of advanced age--69 years old--and has

several      serious    health     problems.       He    suffers   from

severe Type II diabetes with complications, obesity,

hypertension, and high cholesterol.                   It is undisputed

that people in his age group and those with diabetes

and obesity are at elevated risk of severe illness or

death from COVID-19, and that people with hypertension

may   be     at    elevated   risk       as   well.     See   generally

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-at-increased-risk.html                (accessed      on

August 26, 2020).

      The     prison      where      Howard       is     incarcerated,

Coleman-Low Federal Correctional Institution, has been

experiencing       an   outbreak    of    COVID-19.       When   Howard

first filed his motion in April 2020, the Bureau of

Prisons (BOP) reported few cases in the facility.                       By


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July    17,     the   reported       numbers      had    increased          to    45

infected         inmates         and         11         infected        staff.

https://www.bop.gov/coronavirus/                        (accessed                and

screenshot taken on July 17, 2020).                     As of July 27, the

reported      number     of    infected      inmates       had       more    than

tripled to 169 inmates infected, the number of infected

staff had almost doubled at 18, there were no deaths,

and     three     inmates      and     two     staff      had        recovered.

https://www.bop.gov/coronavirus/                        (accessed                and

screenshot taken July 27, 2020).                   On August 24, 2020,

the BOP showed 162 infected inmates, 20 infected staff,

one inmate death, and 62 recovered inmates and three

recovered       staff.   Id.    (accessed         and    screenshot         taken

August 24, 2020).             As of September 16, 2020, Coleman

had 94 infected inmates--an improvement, but still a

significant outbreak.



                         II.    LEGAL STANDARD

       Howard seeks compassionate release pursuant to 18

U.S.C.    §   3582(c)(1)(A),         which     authorizes        a    court       to


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modify   a   term   of   imprisonment        in     certain   enumerated

circumstances.      As relevant here, it states:

      “[T]he court, upon motion of the Director of the
      Bureau of Prisons, or upon motion of the defendant
      after the defendant has fully exhausted all
      administrative rights to appeal a failure of the
      Bureau of Prisons to bring a motion on the
      defendant's behalf or the lapse of 30 days from the
      receipt of such a request by the warden of the
      defendant's facility, whichever is earlier, may
      reduce the term of imprisonment (and may impose a
      term of probation or supervised release with or
      without conditions that does not exceed the
      unserved   portion   of   the   original  term   of
      imprisonment), after considering the factors set
      forth in section 3553(a) to the extent that they
      are applicable, if it finds that—

          (i)   extraordinary   and                compelling    reasons
      warrant such a reduction ...

          and that such a reduction is consistent with
      applicable   policy   statements issued  by  the
      Sentencing Commission.”

18 U.S.C. § 3582(c)(1)(A).               Congress did not define the

phrase “extraordinary and compelling” in the statute

and   instead      directed    the        United    States    Sentencing

Commission    to    describe    which        circumstances      qualify.

See 28 U.S.C. § 994(t).

      The “applicable policy statement” with which relief

under § 3582(c)(1)(A) must be consistent is found in

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Guideline       1B1.13       of     the        United    States      Sentencing

Guidelines.           See     U.S.     Sentencing          Commission,         2018

Guidelines Manual (hereafter “U.S.S.G.”), § 1B1.13(2).

Guideline      1B1.13       mirrors        § 3582(c)(1)(A)          in   that    it

provides that a court may reduce a term of imprisonment

if     the    court      determines            that     “extraordinary          and

compelling reasons warrant the reduction” and that the

reduction is consistent with the policy statement, but

it also requires that “the defendant is not a danger to

the safety of any other person or to the community, as

provided        in     18         U.S.C.        § 3142(g).”              U.S.S.G.

§ 1B1.13(2).           In    an    application          note   to   the    policy

statement,       the        Sentencing         Commission       provides        the

following categories of “extraordinary and compelling

circumstances”:             (A)    a      medical       condition         of    the

defendant, (B) the advanced age of the defendant, and

(C)    the   defendant’s          family        circumstances.           U.S.S.G.

§ 1B1.13 cmt. n.1.            The medical conditions that qualify

include a terminal illness, U.S.S.G. § 1B1.13, comment

n.1(A)(i); and a serious physical or medical condition,


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serious     functional       or     cognitive        impairment,         or

aging related deteriorating physical or mental health

“that     substantially      diminishes      the     ability   of       the

defendant to provide self-care within the environment

of a correctional facility and from which he or she is

not expected to recover,”               U.S.S.G. § 1B1.13, comment

n.1(A)(ii).      The Commission also included a ‘catchall’

provision where the Director of the BOP finds “other

reasons” exist that are “extraordinary and compelling.”

U.S.S.G. § 1B1.13 cmt. n.1(D).1

      As the government recognizes, “[i]f an inmate has a

chronic medical condition that has been identified by

the   CDC   as   elevating    the       inmate's   risk   of   becoming

seriously     ill   from     COVID-19,[]      that     condition        may



    1. Although the catchall provision gives authority
to the BOP alone to determine whether “other reasons”
warrant release, this policy guidance has not been
updated since the 2018 passage of the First Step Act,
Pub. L. No. 115-391.    This court has concluded that,
regarding any inconsistency between the statute and the
policy statement, the policy statement serves as
guidance but does not limit the court’s authority. See
United States v. McCall, No. 2:18CR95-MHT, 2020 WL
2992197, at *2 (M.D. Ala. June 4, 2020) (Thompson, J.);
see also id. at *2 n.2 (citing many cases reaching the
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satisfy the standard of ‘extraordinary and compelling

reasons.’”        Govt. Resp. to Show Cause Order (doc. no.

109) at 16.        Specifically,                “under these circumstances,

a    chronic      condition             (i.e.,     one      ‘from       which     [the

defendant] is not expected to recover’) reasonably may

be     found     to      be        ‘serious’       and      to     ‘substantially

diminish[]       the     ability          of    the   defendant          to    provide

self-care        within       the       environment      of       a    correctional

facility,’        even        if    that        condition        would     not     have

constituted       an     ‘extraordinary            and   compelling           reason’

absent     the    risk        of    COVID-19.”        Id.     (citing         U.S.S.G.

§ lBl.13, cmt. n.l(A)(ii)(I)).

       Prior to the First Step Act of 2018, Pub. L. No.

115-391, only upon motion of the BOP could a court

consider       releasing            a     defendant         under        18      U.S.C.

§ 3582(c)(1)(A).               Now,       after    the   Act,         prisoners     may

file     their     own        motions       without      the       BOP’s      support

provided       that    they        have    either     “fully          exhausted     all

administrative rights to appeal a failure of the Bureau


same conclusion).

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of Prisons to bring a motion on [their] behalf” or 30

days have lapsed “from the receipt of such a request by

the warden of the defendant’s facility, whichever is

earlier.”     18 U.S.C. § 3582(c)(1)(A).



                             III. DISCUSSION

    After careful consideration of the entire record,

including        listening      to      the    recorded         interactions

between    Howard      and   the     government         that   underlay      his

convictions, the court finds that Howard has met the

requirements of § 3582(c)(1)(A) and should be released.

    At     the    August     2020      hearing     on    the    motion,      the

government conceded that Howard has met the exhaustion

requirement       because       30   days     have       lapsed    from      the

warden’s     receipt       of    his       request      for    compassionate

release.      See 18 U.S.C. § 3582(c)(1)(A).                      Therefore,

the discussion below focuses on the substantive merits

of his motion.

    First,       the   court     finds      that     Howard’s     age   of    69

combined     with      his      diagnoses        of     severe     diabetes,


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obesity,     and    hypertension,        in    the      context    of     the

current      outbreak    of    SARS-CoV-2       at      the    Coleman-Low

facility,      presents       “extraordinary          and      compelling”

reasons      for    release     under     §     3582(c)(1)(A).             In

particular,        the   court      finds      that        these    chronic

conditions      substantially          diminish      his      ability     “to

provide      self-care        within     the      environment        of     a

correctional facility,” that is, to take the steps a

free person could to protect himself from infection.

U.S.S.G. § 1B1.13, comment n.1(A)(ii).                   The Centers for

Disease Control has warned that advanced age, obesity,

and Type II diabetes increase an individual’s risk of

severe illness from COVID-19, and that hypertension may

increase that risk.           See generally People at Increased

Risk,          Centers           for           Disease             Control,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-at-increased-risk.html (last visited

Sept.   2,    2020).      Defense      expert     Dr.    Alejandro      Diaz

credibly testified at the evidentiary hearing that the

combination of Howard’s advanced age and his medical


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conditions       puts    him   squarely     in    the    group      with     the

worst     prognosis        should      he   be    infected         with      the

coronavirus.         Indeed, according to Dr. Diaz, Howard’s

age and medical conditions multiply by several times

his     risk    of   serious      illness      and     even       death     from

COVID-19.

       Dr. Diaz also credibly opined that the conditions

in which Howard is living are not safe for him.                           Howard

testified that the L-shaped building in which he lives

houses about 150 inmates. There are rows of two-man

cubicles running down both side of each part of the

“L,” and in the center of each wing, there is a row of

three-man        cubicles.            Howard      is     housed       in        an

approximately           eight-by-ten-foot         three-man          cubicle,

where he sleeps in a bed approximately two feet from a

bunk bed where his two roommates sleep.                      The only thing

that    separates        him   from    in   the   next       cubicle       is    a

64-inch        divider    wall,       and   there       is    a    bunk      bed

positioned directly on the other side of the wall next

to which he sleeps so that the breath of the inmate on


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the    top    bunk       can    fall    directly       on     him.     While     all

inmates      are     issued      cloth       masks,     use    by    inmates     and

staff has been inconsistent but improving, and staff

encourage inmates to use them mostly when prisoners are

in    the    common       areas        and    during     count.         Dr.     Diaz

testified that, while the cloth masks are helpful, they

will not prevent infection in people living in such

close proximity to each other.                     He made clear that the

most effective way to stop transmission is testing, and

that based on the medical records, Howard had not been

tested.       Based on Howard’s testimony, it appears that,

in     his    unit,       only     symptomatic          inmates        and     their

cubicle-mates            have    been        removed    from     the    unit     and

tested.

       The     government         argues         that       Howard's         medical

conditions          do     not     constitute           “extraordinary           and

compelling         reasons”      for        release    because       the     Coleman

facility       is    equipped          to     provide       medical     care     for

chronic health conditions, because of the precautions

the facility has taken to avoid infection, and because


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the majority of infections at the facility have been in

a separate women’s dorm.             The court disagrees.        First,

the   prison’s    ability      to    provide    standard     care     for

chronic conditions does not mean that it is equipped to

provide   necessary     care     for     serious    complications        of

COVID-19, or to protect Howard from infection.                  Second,

as Dr. Diaz testified, the precautions the prison is

taking are insufficient to protect Howard, given his

advanced age and health conditions.                The prison has put

prisoners in lockdown, limited visitors, provided and

encouraged the use of cloth masks, and begun taking

prisoners’     temperatures          every   day.       While     these

measures are steps in the right direction, they are

insufficient for Howard.            Cloth masks will not prevent

infection when in the close and extended presence of

someone with the virus, Dr. Diaz testified.                 And, while

taking    temperatures      is      better   than    nothing,    it      is

plainly insufficient.            The problem is that more than

50 % of infected people--closer to 80 % according to

one study Dr. Diaz cited--will be entirely asymptomatic


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yet still capable of spreading the virus.                      Therefore,

in    Dr.    Diaz’s    view,    taking     temperatures       amounts       to

little more than public relations.                  Dr. Diaz testified

that     the    best   way    to     prevent   infection      is   through

widespread testing--something the BOP has not done in

Howard’s unit.          The fact that most of the infections

have been in the women’s dorm does not mean that Howard

is safe, given the highly communicable nature of the

disease, and Howard’s credible testimony that about 12

ill inmates and cubicle-mates have been removed from

his unit and have not returned.                For these reasons, the

court also finds that Howard will be safer if released

to live in the Auburn area in an apartment or hotel

arranged by his family.

       The far more difficult issue in this case is the

application of the factors in 18 U.S.C. § 3553(a) to

the    decision     whether     to    grant    a   sentence    reduction.

The court has struggled with whether a reduced sentence

would be sufficient given Howard’s offenses.                        Howard

sold 1,4-butanediol, a chemical that is converted into


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Gamma Hydroxybutyrate (GHB), a central nervous system

depressant that can render a person unconscious and has

been referred to as a “date rape drug,” although it

apparently is used recreationally as well by people who

want to get high.            Howard insists that it was not his

intent    that     the       drug     be     used      to    render         people

unconscious, and that he was introduced to it and sold

it primarily to women who worked as prostitutes who

used it to get high and lower their own inhibitions.

He also admitted to taking it himself.

    During the evidentiary hearing on the motion, the

court     was     under      the     impression          that,        during     a

conversation       with      an     undercover         agent,    Howard        had

advocated       that   one    could        use   the    drug     to    sexually

assault     people.           Howard        insisted        that,      in     this

discussion, he was attempting to warn the undercover

about what could happen if someone were to take too

much of the drug.         Upon carefully listening to the full

recording, the court is now convinced that its first

impression was incorrect and that Howard actually was


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attempting to warn of the impact of using an excessive

amount of the drug and was telling the agent how much

should      be    used     to    get     high       without      passing   out.

Indeed, a government witness at the sentencing hearing

testified to the same.             See Sentencing Transcript (doc.

no. 124) at 40.            On the other hand, it is clear that

Howard was willing to sell large quantities of the drug

to the undercover agent knowing that he planned to sell

it to others, and with no assurance that it would not

be used to incapacitate unsuspecting victims.                           This is

a serious offense.

       However, the balance of factors weighs in favor of

reducing Howard’s sentence.                   During his over five years

of     incarceration,           Howard        has   had    no     disciplinary

infractions, has worked consistently in the UNICOR and

education        programs,       has     completed         a    120-hour    drug

treatment program, and has been assessed by the BOP as

having a “minimum” risk of recidivism.                           See 18 U.S.C.

§ 3553(a)(1);        §   3553(a)(2)(C).               He   had    no    criminal

history      prior    to    the    current          offense     other    than   a


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driving under the influence charge many years earlier.

See id.     As discussed earlier, he has served well over

half of his sentence.           See § 3553(a)(2)(A) & (B).              His

adult daughter has committed to obtaining a place for

him to live, and he has a means of supporting himself

outside   of    prison,    as    he       will   be    receiving    social

security.      See § 3553(a)(2)(C).

      Furthermore,     Howard        has     already     completed      the

18-month portion of his sentence related to his drug

sales.    The vast majority of his sentence is based on

his conviction for brandishing a weapon during or in

connection with a drug trafficking offense: he received

the    mandatory-minimum         consecutive          sentence     of    84

months.     However, the evidence shows that, while he was

guilty    of    the   brandishing          offense,     the   underlying

conduct was not particularly serious.                  It occurred when

Howard and the undercover agent got in Howard’s car to

consummate      the   sale      of        drugs,      after   a    lengthy

conversation in a restaurant.                While sitting with the

undercover officer in his car and immediately before


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reaching into the back of the truck to retrieve the

drug,    Howard      took    his    handgun      out   of    the   center

console, unloaded the ammunition, and handed the agent

the weapon, explaining in a friendly tone that it was

considered a “micro-gun” because of its size.                       These

facts do not place this offense within the realm of the

most serious brandishing offenses, in which the gun is

used    in   a    clearly    threatening        manner.     Because    the

brandishing        offense    here        was   relatively    minor,     a

sentence         reduction     is     acceptable          here.        See

§ 3553(a)(1)       (requiring       consideration      of   “the   nature

and circumstances of the offense”); § 3553(a)(1)(2)(A)

(requiring consideration of “the need for the sentence

imposed ... to reflect the seriousness of the offense,

to promote respect for the law, and to provide just

punishment for the offense).

       At sentencing, and during the evidentiary hearing

on the now-pending motion, the court was disturbed by

evidence that Howard had, during a conversation with

the undercover officer, talked about his desire to harm


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two women he felt had wronged him.2                   However, after

carefully      listening     to    the    recording,         the     court

realized that it had not received a completely accurate

picture of this conversation.            During the conversation,

Howard   expressly     stated     that   he    did    not    believe     in

violence against women and had never hit a woman, other

than once spanking his daughter. He also concluded his

disturbing statements about what he would like to do to

the women by saying that he would not really do it, and

that at most, he would give them a too short haircut.

The   court    is    convinced    that    he    was    likely       simply

puffing and/or blowing off steam.

      Admittedly,     this   motion      presents     a     close    call.

Howard’s      sale   of    1-4-butanediol       was       unacceptable,

especially given the risk that it could be used against

unsuspecting people.          That said, at the time of his

offense, he was engaged in significant substance abuse,

which likely contributed to his behavior.                   Based on his



    2. There is also evidence in the record that Howard
harbors racist attitudes.   However, such attitudes are
not criminal.
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having already served over five years in prison, his

having only 17 months left to serve before release to a

halfway house, the details of his offenses, his extreme

vulnerability to serious complications and even death

should he become ill with COVID-19 during the remaining

17 months of incarceration, and the failure of the BOP

to provide him with adequate protection from infection

in spite of his vulnerability, the court concludes that

the balance of the § 3553(a) factors weigh in favor of

release.

       The court also finds that Howard "is not a danger

to the safety of any other person or to the community,

as     provided      in    18   U.S.C.      §    3142(g).”        U.S.S.G.

§ 1B1.13(2).         Section 3142(g) sets forth factors courts

must consider in deciding “whether there are conditions

of release that will reasonably assure the appearance

of the person as required and the safety of any other

person      and     the    community.”           These   include,    among

others, “the nature and circumstances of the offense

charged;      ...    the   history    and       characteristics     of   the


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person; ... [and] the nature and seriousness of the

danger to any person or the community that would be

posed by the person's release.”                      Id.        As discussed

earlier, Howard is now of advanced age, 69 years old,

and has significant health problems.                     He has no history

of violent behavior.             He has family willing to provide

him    with   a    place    to   live     and   a    retirement          income.

While    Howard     was     convicted     here      of     a    serious       drug

offense and a gun offense, he has otherwise lived a

law-abiding and productive life, with the exception of

a     long-ago     driving-while-intoxicated                  offense.        His

offenses      occurred      during    a   period         in    which     he    was

involved      in   significant       substance       abuse,      but     he    has

since     completed        substance-abuse          treatment,         and,     if

released, will be under supervision and drug-testing

for years, so there is little chance he will fall back

into using drugs.           And, as discussed earlier, his talk

of violence appears to have been more smoke than fire.

In sum, the court is convinced that, if released, he

will not pose a danger to community.


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                           IV. CONCLUSION

    After     considering       all       relevant    factors    and        the

Sentencing      Commission’s     policy       statement,       the     court

finds “extraordinary and compelling reasons” exist to

reduce Howard’s sentence to time served.                   However, due

to the nature of his underlying conduct, the court will

convert   the    remainder      of    his    prison     sentence       to    an

additional      sentence   of    supervised          release    with    home

confinement     and   electronic          monitoring.      Furthermore,

Howard may need to undergo a 14-day quarantine before

being released from prison.                  The court will hold a

conference call forthwith with the parties to discuss

his exact release date.

    An appropriate order and judgment will be entered

after the call.

    DONE, this the 22nd day of September, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




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